                    Case 2:05-cr-00090-MCE Document 139 Filed 12/13/06 Page 1 of 4

      1   WILLIAM L. OSTERHOUDT, ESQ. (SBN043021)
      2
          DOLORES T. OSTERHOUDT (SBN 215537)
          LAW OFFICES OF WILLIAM OSTERHOUDT
      3   135 Belvedere Street
          San Francisco, CA 94117
      4   Telephone: (415) 664-4600
      5   Osterhoudt@aol.com

      6   Attorneys for Defendant
          HUGO RAMIREZ
      7

      8                                 IN THE UNITED STATES DISTRICT COURT
      9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
     10
                                                )
     11
                                                )
          UNITED STATES OF AMERICA,             )                     No. CR S-05-0090 WBS
     12
                       Plaintiff,               )
     13                                         )                     STIPULATION AND [PROPOSED]
                vs.                             )                     ORDER CONTINUING MOTIONS
     14
                                                )                     HEARING DATE AND RESETTING
          HUGO RAMIREZ, et al.,                 )
     15                                                               BRIEFING SCHEDULE
                       Defendants.              )
     16                                         )
          _____________________________________ )
     17
                   IT IS HEREBY STIPULATED by and between the parties hereto through their respective
     18

     19   counsel, Matthew Segal, Assistant United States Attorney, attorney for plaintiff United States of

     20   America, on the one hand, and William Osterhoudt, Esq., attorney for defendant Hugo Ramirez,
     21
          and Shari Rusk, attorney for defendant Robert Osborn, on the other, that:
     22
              1. The presently scheduled motion hearing date of January 22, 2007 shall be
     23          continued to Tuesday, February 20, 2007, at 8:30 am. The Courtroom Clerk has
                 approved of this latter hearing date.
     24

     25       2. Defendant shall file all motions and memoranda in support of existing motions by
                 January 5, 2007.
     26
              3. The United States shall file its response to defendants’ motions by January 26,
     27
                 2007.
     28
          _______________________________________________________________________________________________
          St i pul a t i on an d [Pr opos ed] Or der Con t in uin g Mot i on s Hea r i n g Da t e an d Res et t i n g Br i efi n g
          Sch edul e
          [N o. CR- S-05-009 0(WBS)]
                                                                     1


PDF created with pdfFactory trial version www.pdffactory.com
                    Case 2:05-cr-00090-MCE Document 139 Filed 12/13/06 Page 2 of 4

      1

      2
              4. Defendant shall file any reply in support of their motions by February 2, 2007.

      3        The attorneys for the Defendants are requesting this continuance so that they may have further
      4
          time to evaluate evidence and prepare arguments in support of their anticipated motions. Further,
      5
          new counsel for Defendant Ramirez requires time to evaluate the case generally.
      6

      7        It is further stipulated, that the ends of justice served by granting this continuance outweigh

      8   the best interest of the public and the Defendants in a speedy trial. 18 U.S.C. Section
      9
          3161(h)(8)(A). In particular, failure to grant this continuance would deny the Defendants
     10
          reasonable time to prepare, taking into account the exercise of due diligence. 18 U.S.C. Section
     11
          3161(h)(8)(B)(iv); Local Code T4. Thus, the time from November 22, 2006 up to and including
     12

     13   February 20, 2007 shall be excluded from computation of time under the Speedy Trial Act.

     14        The parties further stipulate that January 5, 2007 shall be the deadline for all pretrial motions
     15
          and that no such motions shall be filed thereafter. Fed. R. Crim. P. 12(c).
     16

     17
                                                                         Respectfully submitted,
     18

     19
          Dated: December 12, 2006

     20                                                                  /s/ Matthew Segal (with consent)
                                                                         MATTHEW SEGAL
     21                                                                  Assistant United States Attorney
     22

     23
                                                                         /s/ Shari Rusk (with consent)
                                                                         SHARI RUSK
     24                                                                  Attorney
     25
                                                                         /s/ William L. Osterhoudt_____
     26
                                                                         WILLIAM L. OSTERHOUDT
     27                                                                  Attorney

     28
          _______________________________________________________________________________________________
          St i pul a t i on an d [Pr opos ed] Or der Con t in uin g Mot i on s Hea r i n g Da t e an d Res et t i n g Br i efi n g
          Sch edul e
          [N o. CR- S-05-009 0(WBS)]
                                                                     2


PDF created with pdfFactory trial version www.pdffactory.com
                    Case 2:05-cr-00090-MCE Document 139 Filed 12/13/06 Page 3 of 4

      1

      2                                                         ORDER
      3

      4            Pursuant to stipulation of the parties, and good cause appearing therefrom, the Court hereby
      5
          adopts the parties’ stipulation in its entirety as the Court’s findings and its order.
      6
          Dated: December 12, 2006
      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

     26

     27

     28
          _______________________________________________________________________________________________
          St i pul a t i on an d [Pr opos ed] Or der Con t in uin g Mot i on s Hea r i n g Da t e an d Res et t i n g Br i efi n g
          Sch edul e
          [N o. CR- S-05-009 0(WBS)]
                                                                     3


PDF created with pdfFactory trial version www.pdffactory.com
                    Case 2:05-cr-00090-MCE Document 139 Filed 12/13/06 Page 4 of 4

      1                                              PROOF OF SERVICE
      2

      3
                   I, the undersigned, declare as follows:

      4

      5
                   I am employed in the City and County of San Francisco, State of California. I am over

      6
          the age of eighteen (18) and am not a party to this action. My business address is 135 Belvedere

      7
          Street, San Francisco, California 94117.

      8

      9
                   On the date set forth below, I caused to be served the document entitled:

     10
                                STIPULATION AND ORDER CONTINUING MOTIONS
                                    HEARING DATE AND BRIEFING SCHEDULE
     11
          on the party in this action as follows:
     12

     13   Matthew Segal                                                   Shari Rusk
     14   Assistant U.S. Attorney                                         Law Offices of Shari Rusk
          501 I Street                                                    1710 Broadway #111
     15   Sacramento, CA 95814                                            Sacramento, CA 95818
     16
                                                                          Rachelle Barbour
     17                                                                   Office of the Federal Defender
                                                                          801 I Street, 3rd Floor
     18                                                                   Sacramento, CA 95814
     19

     20
             X     [BY ELECTRONIC SERVICE] Utilizing the ECF system of the United States District
     21
          Court for the Eastern District of California.
     22
                   I declare under penalty of perjury that the foregoing is true and correct, to the best of my
     23
          knowledge and belief.
     24

     25
          DATED: December 12, 2006                               / s / C hr i s t o p he r W. C ho y
     26                                                                Chr ist opher W. Cho y
     27

     28
          _______________________________________________________________________________________________
          St i pul a t i on an d [Pr opos ed] Or der Con t in uin g Mot i on s Hea r i n g Da t e an d Res et t i n g Br i efi n g
          Sch edul e
          [N o. CR- S-05-009 0(WBS)]
                                                                     4


PDF created with pdfFactory trial version www.pdffactory.com
